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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                           No. 16-372V
                                    Filed: February 10, 2017
                                         UNPUBLISHED

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SOPHIA HERRERA,                          *
                                         *
                     Petitioner,         *     Joint Stipulation on Damages;
v.                                       *     Influenza (“Flu”) Vaccine;
                                         *     Parsonage-Turner Syndrome;
SECRETARY OF HEALTH                      *     Special Processing Unit (“SPU”)
AND HUMAN SERVICES,                      *
                                         *
                     Respondent.         *
                                         *
****************************
John Howie, Jr., Howie Law, P.C., Dallas, TX, for petitioner.
Camille Collett, U.S. Department of Justice, Washington, DC, for respondent.

                              DECISION ON JOINT STIPULATION1

Dorsey, Chief Special Master:

        On March 23, 2016, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the
“Vaccine Act”). Petitioner alleged that she suffered Parsonage-Turner Syndrome
caused-in-fact by the influenza vaccination she received on September 23, 2013.
Petition at 1, ¶¶ 1, 16; see also Stipulation, filed Feb. 9, 2017, at ¶¶ 1-2, 4. Petitioner
further alleged that she received the influenza vaccine in the United States, that she
suffered the effects of her injury for more than six months, and that she has not filed a
civil suit or received compensation for her injury, alleged as vaccine caused. Petition at
¶¶ 1, 15, 17; see also Stipulation at ¶¶ 3-5. “Respondent denies that the vaccine that
petitioner received either caused or significantly aggravated alleged petitioner’s
Parsonage-Turner Syndrome or any other injury or condition.” Stipulation at ¶ 6.



1 Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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        Nevertheless, on February 9, 2017, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation. The undersigned
finds the stipulation reasonable and adopts it as the decision of the Court in awarding
damages, on the terms set forth therein.

        The parties stipulate that petitioner shall receive the following compensation:

        A lump sum of $70,000.00 in the form of a check payable to petitioner.
        Stipulation at ¶ 8. This amount represents compensation for all items of
        damages that would be available under § 15(a). Id.

       The undersigned approves the requested amount for petitioner’s compensation.
In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court is directed to enter judgment in accordance with this decision.3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

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